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 1   THOMAS J. RICHARDSON             # 138104
     Attorney at Law
 2   2950 Mariposa, Suite 200
     Fresno, California 93721
 3
     Tel: 559-264-6481
     Fax: 559-264-0240
 4

 5   Attorney for Defendant
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 8
                        IN THE UNITED STATES DISTRICT COURT

 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA

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11
     UNITED STATES OF AMERICA,                ) Case No.: 1:03-cr-05220- OWW
                                              )
12
                   Plaintiff,                 ) STIPUALATION AND ORDER TO
                                              ) CONTINUE SENTENCING
             vs.                              )
13
                                              )
14
     MARTIN ESPANA VILLASENOR,                )
                                              )
15
                   Defendant.                 )
                                              ) Dated: August 29, 2005
16
                                              ) Time: 9:00 a.m.
                                              ) Judge: Oliver W. Wanger
17

18           The parties hereto, by and through their respective attorneys, stipulate and

19   agree the sentencing currently scheduled for August 29, 2005 be continued to

20   November 14, 2005 at 9:00 am. in the above-entitled court. Time is excluded

21
     pursuant to the Speedy Trial Act for further investigation and preparation of the

22
     case.

23

24
     DATED: ________________                   By_____________________
                                                  STANLEY BOONE
25                                                Assistant U.S. Attorney
26
     Dated: August 23, 2005                          ______________________
27
                                                 /s/ THOMAS J. RICHARDSON
                                                     Attorney for Defendant


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 2
     SO ORDERED:
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 4   DATED:___August 25__, 2005        _/s/ OLIVER W. WANGER_
                                             OLIVER W. WANGER
 5
                                             U.S. DISTRICT COURT JUDGE
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